           Case 2:18-cr-00759-CJCUNITED
                                   Document 70 Filed
                                        STATES       11/20/18
                                               DISTRICT       Page 1 of 1 Page ID #:213
                                                           COURT                                                               11/20/2018
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                   CW

         MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER -
                                          NEBBIA HEARING

Case No. 2:18-cr-00759-CJC-3                                    CourtSmart 11/20/2018                Date: November 20, 2018
Present: The Honorable MARIA A. AUDERO                                                                      , U.S. Magistrate Judge
               Cheryl Wynn                                 David T. Ryan                                           N/A
               Deputy Clerk                            Assistant U.S. Attorney                              Interpreter / Language


 USA v. 3) TYLER LAUBE                                             Attorney Present for Defendant:
                                                                   Jerome J. Haig
 ✔ Present
 G               ✔Custody G Bond
                 G                    G Not present                ✔Present G
                                                                   G          ✔ CJA     G Retd    G DFPD      G Not present

PROCEEDINGS: DETENTION HEARING
G Government’s request for detention is: G GRANTED G DENIED G WITHDRAWN G CONTINUED
G Witnesses CST (see separate list).         G Exhibits Marked/Admitted (see separate list).
G Court orders that exhibits be returned to the respective counsel / party of record.
   G See Receipt for Release of Exhibits to Counsel.
G Counsel stipulation to bail.
G Court finds presumption under 18 USC 3142e                                      has not been rebutted.
G Court ORDERS DEFENDANT PERMANENTLY DETAINED. See separate detention order.
G Court finds presumption under 18 USC 3142e                                      has been rebutted.
G Court sets bail at: $                                        .        G SEE ATTACHED COPY OF CR-01 BOND FORM
   FOR CONDITIONS OF RELEASE.
G Court orders that defendant be detained for a period not to exceed ten (10) Court days. See separate order re temporary detention.
G Court orders further detention / bail hearing to be set on                                        at              Ga.m. / Gp.m. in
   Courtroom                                          before Judge                                                           .
G Court orders case continued to                               at                 Ga.m. / Gp.m. for                          , in
   Courtroom                                 before Judge                                                                    .
G Release Order Issued - Release No.                                              .
G Other:


PROCEEDINGS:                  ✔ REVIEW / RECONSIDERATION OF BAIL / DETENTION ORDER - BOND HEARING
                              G
                              G NEBBIA HEARING

 Hearing on G Plaintiff’s G✔ Defendant’s request for review / reconsideration of bail / detention order had and request is:
                           G GRANTED G        ✔DENIED
 Court ORDERS bail as to the above-named defendant G modified to G set at: $
     G SEE ATTACHED COPY OF CR-01 BOND FORM FOR CONDITIONS OF RELEASE.
 G Bond previously set is ordered vacated.
 G Court orders defendant permanently detained. See separate order.
 G Court denies request for bail, defendant shall remain permanently detained as previously ordered.
 G Witnesses CST (see separate list).        G Exhibits Marked / Admitted (see separate list).
 G Court orders that exhibits be returned to the respective counsel / party of record.
     G See Receipt for Release of Exhibits to Counsel.
 G Case continued to                                   at                 G a.m. / G p.m. for
     before Judge                                                                  in Courtroom                       .
 G Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
 ✔ Other Court hears from counsel, and questions the sureties present. At the request of counsel, the Court conducts a
 G
            sidebar; the Court finds good cause and SEALS the sidebar portion of the transcript.

 Release Order Issued - Release No.                                                                               1    :      02
                                                                                           Deputy Clerk Initials cw

M-46 (06/10)     MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER - NEBBIA HEARING
